
Cameron, J.
delivered the opinion of the Court.
On a careful examination of the acts of Assembly, respecting the power of the County Courts, to order the laying out of roads, &amp;c. we cannot discover any distinction between the case under consideration, and the case of Hawkins from the County of Randolph, in which it was determined that an appeal would not lie from the judgment of the County Court to the Superior Court, in the matter of roads, &amp;c.
The right of appeal, in such cases, is given by an act of the General Assembly, passed at their last Session, which operates on all future cases.
This appeal having been brought up before the passing of said act, and at a time when there was no legal authority for the same, the Superior Court had no jurisdiction of it.
Appeal dismissed.
